Case 0:11-cr-60040-DLG Document 39 Entered on FLSD Docket 05/05/2011 Page 1 of 8




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 11-60040-CR-GRAHAM/GOODMAN

     UNITED STATES OF AMERICA

     v.

     RICKEY PHILLIPS and
     CARLOS ROSE,

           Defendants.
     ________________________________________/
             REPORT & RECOMMENDATIONS ON MOTION TO SUPRESS
            This matter is before the Court on Defendant Rickey Phillips’ motion to suppress
     statements and all evidence seized from defendant’s home and phones, filed April 22,
     2011 (D.E. 30). The Court has reviewed the motion and the government’s response (D.E.
     36) and held an evidentiary hearing on May 4, 2011. For the reasons set forth below, the
     Court respectfully recommends that the motion be denied.
                                 BACKGROUND OF MOTION
            Rickey Phillips was arrested on the morning of March 15, 2011, pursuant to an
     arrest warrant. According to the government’s account of events, Phillips orally waived
     his Miranda rights while handcuffed in the back seat of an unmarked law enforcement
     SUV. Phillips then also orally consented to a search of his apartment. Once Phillips was
     taken back to the SAC office and booked, he then orally consented for the government to
     search two cellular phones found on his person during the arrest. While at the SAC
     office, Phillips also signed a written consent form that gave permission to search his
     apartment and cell phones. He also signed a form waiving his Miranda rights before he
     was interviewed for more than an hour at the SAC office.
            Phillips argues in his motion to suppress that he never gave any oral consents and
     did not waive his Miranda rights until signing the written waiver at the station. Phillips
     argues that the search of his phones and apartment were conducted before his written
Case 0:11-cr-60040-DLG Document 39 Entered on FLSD Docket 05/05/2011 Page 2 of 8




     waiver. He also contends that he was not informed of his Miranda rights and did not sign
     the Miranda waiver until after his interrogation was complete. 1
                                    EVIDENTIARY HEARING
             The government called three witnesses at the evidentiary hearing: Special Agent
     Dennis Rose, Special Agent Kimako Finey, and Special Agent Kareem Lilas. As noted,
     Phillips did not call any witnesses and did not testify himself.
             Agent Rose testified that he was the lead case-agent responsible for overseeing
     the operation. On the morning of March 15, 2011, Agent Rose arrived on the scene after
     Phillips had already been arrested. He introduced himself to Phillips and then returned to
     his vehicle to get a standard U.S. Immigration and Customs Enforcement form which
     contains a statement of rights, including Miranda rights. At the time Rose arrived,
     Phillips was sitting handcuffed in the back of a law enforcement SUV. Rose read the
     statement of rights to Phillips and asked Phillips if he understood each right. Phillips said
     that he did.
             Rose then asked Phillips for consent to search his apartment. At the time, Rose
     did not know which apartment belonged to Phillips. Phillips said that there might be
     some marijuana in the apartment but Rose told Phillips that he was not concerned with
     small amounts of marijuana intended for recreational use. Phillips then consented to the
     search of his apartment. He accompanied the agents into the building and showed them
     which apartment was his and which key to use to enter the apartment. The apartment was
     sparsely furnished. The agents noticed some marijuana residue on one of the tables.
     They remained in the apartment for 10 to 15 minutes. However, Rose was concerned that
     it was not a secure area so he returned with Phillips to the SAC office. There, Phillips
     was booked and taken to a holding cell. Rose thought that they arrived at the office at
     approximately 9:00 a.m.




             1
                     Phillips chose not to testify at the hearing. His counsel acknowledged that
     she spoke with him about the advantages and disadvantages of providing testimony and
     confirmed that she and Phillips made a joint, strategic decision that he would not testify.
     Accordingly, the government’s testimony is unrebutted and there was no evidence to
     support the rhetoric (contained in the motion to suppress) that Phillips did not sign the
     forms until after he was interviewed.


                                                   2
Case 0:11-cr-60040-DLG Document 39 Entered on FLSD Docket 05/05/2011 Page 3 of 8




            Phillips was then removed from his holding cell and taken to an interview room.
     There, Agent Rose asked Phillips for consent to search his cell phones, which Phillips
     gave orally. The arresting agents had initially recovered two cell phones from Phillips’
     person. Rose then gave Phillips the statement of rights and Phillips initialed next to each
     right and signed at the bottom of the form indicating that the rights had been explained to
     him, that he understood them, and that he freely waived them. Agent Rose and Agent
     Brian Luomar signed the waiver form as witnesses. Rose then interviewed Phillips for
     approximately an hour and a half.
            The waiver form states that Phillips was taken into custody at 8:00 a.m. and
     signed the waiver at 9:30 a.m. On cross-examination, Rose admitted that he did not fill
     in those times when Phillips initially signed the form but did so later in the day, while
     preparing to transfer Phillips to the FDC-Miami.
            Phillips also signed a consent-to-search form at the SAC office before his
     interview began. The form permitted Agent Rose to search Phillips’ cell phones and
     apartment. The form was witnessed by Agent Rose and Agent Kimako Finey and signed
     before the phones were searched.
            Rose testified that the reason he did not ask Phillips to sign the statement of rights
     while in the back of the SUV was because Phillips was still handcuffed, Rose was
     concerned about the agents’ safety and it would been cumbersome for Phillips to sign
     while handcuffed. 2
            Agent Finey testified that he was called by Agent Rose to assist in the arrests.
     On the day in question, both Agent Finey and Agent Rose first went to arrest co-
     defendant Carlos Rose and then separately drove to the scene, where Phillips had already
     been arrested. Finey saw Agent Rose return to his vehicle to retrieve the statement of
     rights form and heard Rose read the rights to Phillips. Agent Finey was present, standing
     outside the vehicle with its windows open, while Agent Rose spoke with Phillips. Agent
     Rose did not ask any questions to Phillips before reading him his rights. Agent Finey
     heard Phillips consent to the search of his apartment.



            2
                    The SUV that Phillips was in was an undercover, unmarked car which did
     not have a screen or cage separating the driver and front passenger from the rear seats.


                                                  3
Case 0:11-cr-60040-DLG Document 39 Entered on FLSD Docket 05/05/2011 Page 4 of 8




            Upon returning to the SAC office, Agent Finey also heard Agent Rose ask for
     consent to search the cell phones and was present when Phillips signed the waiver and
     consent to search forms before the interview and before the cell phones were taken to be
     searched. Finey’s hand-written notes from that day state that at 9:37 a.m. Phillips was
     readvised of his rights and “signed off.”
            Finey stated that he arrived on the scene where Phillips was arrested at
     approximately 7:15 a.m., that he was in Phillips’ apartment for no more than 20 minutes
     and that they left around 7:50-8:00 a.m. to go to the office.
            Finally, Agent Lilas testified that he was part of the team tasked with arresting
     Phillips but was not otherwise familiar with the facts of the case. Lilas arrived at the
     parking lot outside Phillips’ apartment before dawn with three other agents and, when he
     saw someone approaching Phillips’ car, stopped the person, who turned out to be Phillips,
     and arrested him. Phillips was informed that he was arrested pursuant to an arrest
     warrant. Lilas remembered seizing at least one cell phone from Phillips during an initial
     search of Phillips’ person, but did not remember how many phones he took. He also
     stated that he did not look through the phones.
            No one questioned Phillips until Agent Rose arrived on the scene approximately
     20-25 minutes after the arrest. Lilas overhead Agent Rose talking to Phillips about
     getting consent to search his house and also overheard the exchange about the marijuana
     and personal use. Lilas did not hear Rose read Phillips Miranda rights. Lilas went up to
     the apartment to do an initial security sweep but was only up there for four or five
     minutes. At that time, while Phillips remained in the apartment with Rose and Finey,
     Lilas returned to the parking lot. All three Agents testified that Phillips did not resist at
     all on the way to his apartment or otherwise indicate that he was withdrawing his consent
     to search.
            After the Court heard the Agents’ testimony, the government argued that it had
     met its burden of proof that Phillips validly waived his Miranda rights and orally
     consented to searching his cell phones and apartment. The government argued that the
     written waivers in this case were unnecessary because oral waivers and consents are
     valid, but that, in any event, the evidence established that the consent-to-search form was




                                                   4
Case 0:11-cr-60040-DLG Document 39 Entered on FLSD Docket 05/05/2011 Page 5 of 8




     signed before the cell phones were searched and the Miranda wavier was signed before
     the interrogation at the SAC office.
            Phillips argued that the Court should suppress the evidence because the
     government failed to meet its burden. Phillips asked the Court to decline to credit the
     agents’ testimonies because of various purported inconsistencies.          For instance, co-
     defendant Rose signed a waiver of rights at the time he was arrested but Phillips did not
     sign a waiver until after he was booked at the SAC office. Agent Rose also admitted that
     he did not enter the times on the wavier form until after the fact, indicating, according to
     Phillips, that the form was signed after the interrogation was complete. Phillips also
     notes that the times given on the report by the agent who analyzed the cell phone indicate
     that the data was downloaded shortly after 8:30 a.m., approximately an hour earlier than
     would be expected under the government’s version of events.
            In response, the government asked the court to take judicial notice of the fact that
     daylight savings time began two days before Phillips’ arrest and that Congress only
     recently changed daylight savings time to begin several weeks earlier than usual.
     According to the government, this time discrepancy likely owes to the fact that the
     computer software used to access Phillips’ cell phones did not take into account the
     earlier daylight savings time, which only began in 2007.
                                        APPLICABLE LAW
            Under Miranda v. Arizona, 384 U.S. 436 (1966), before beginning a custodial
     interrogation, law enforcement officers must warn the subject that he has the right to
     remain silent and the right to have an attorney present during questioning. 3 An individual
     can effectively waive his Miranda rights if his waiver is voluntary, knowing and
     intelligent. United States v. Rush, 144 Fed. Appx. 13, 15 (11th Cir. 2005); United States
     v. Beale, 921 F.2d 1412, 1434 (11th Cir. 1991). “The general rule is that neither a written
     nor an oral express waiver is required.” United States v. James, 528 F.2d 999, 1019 (5th


            3
                     The specific rights listed on a Miranda form, commonly carried by law
     enforcement officials, are as follows: (1) that the subject has the right to remain silent; (2)
     that anything he said could be introduced into evidence against him in court; (3) that he
     had the right to have an attorney to represent him at any time during questioning; and (4)
     that if he wanted an attorney but could not afford one, one would be provided without
     charge. See Hart v. AG, 323 F.3d 884, 887 (11th Cir. 2003).


                                                   5
Case 0:11-cr-60040-DLG Document 39 Entered on FLSD Docket 05/05/2011 Page 6 of 8




     Cir. 1976). Rather, the prosecution must shown was that the defendant “was effectively
     warned of his rights and that he then intelligently and understandingly declined to
     exercise them” by speaking with law enforcement. United States v. Micieli, 594 F.2d
     102, 107 (5th Cir. 1979).
            The government must prove by a preponderance of the evidence that an
     uncounseled defendant was advised of his rights, and waived them voluntarily,
     knowingly and intelligently. United States v. Glover, 431 F. 3d 744, 748 (11th Cir.
     2005); United States v. Barbour, 70 F. 3d 580, 584 (11th Cir. 1995).
            The Fourth Amendment provides that:
            The right of the people to be secure in their persons, houses, papers, and
            effects, against unreasonable searches and seizures, shall not be violated,
            and no Warrants shall issue, but upon probable cause, supported by Oath
            or affirmation, and particularly describing the place to be searched, and
            the persons or things to be seized.
     The Supreme Court has held that “a search conducted without a warrant issued upon
     probable cause is ‘per se unreasonable . . . subject only to a few specifically established
     and well-delineated exceptions.’” Schneckloth v. Bustamonte, 412 U.S. 218, 219 (1973)
     (quoting Katz v. United States, 389 U.S. 347, 357 (1967)). “One of the well-established
     exceptions to the probable cause and warrant requirements is a search which is conducted
     pursuant to voluntary consent.” United States v. Garcia, 890 F.2d 355, 360 (11th Cir.
     1989). “In order for consent to a search to be deemed voluntary, it must be the product of
     an essentially free and unconstrained choice.” Id. “Whether consent is voluntary is a fact
     question determined according to the totality of the circumstances.” Johnston v. Tampa
     Sports Auth., 530 F.3d 1320, 1326 (11th Cir. 2008)
                      FINDINGS OF FACT & CONCLUSIONS OF LAW
            The Court finds the testimony of all three agents credible.            The agents
     corroborated each others’ accounts regarding the sequence of events, the roles of the
     different agents during the arrest, apartment search, and interview, as well as Phillips’
     behavior throughout the entire day.      What minor differences existed--for example,
     whether the agent’s were in Phillips’ apartment for fifteen or for twenty minutes--were
     within the range of normal discrepancies in human memory that one would expect under
     the circumstances. Although Lilas did not hear Rose read Phillips Miranda rights, this
     was consistent with Agent Finey’s testimony that the arresting agents were further away


                                                 6
Case 0:11-cr-60040-DLG Document 39 Entered on FLSD Docket 05/05/2011 Page 7 of 8




     from the SUV when Rose initially interviewed Phillips. There was also no testimony to
     support the defendant’s version of events.
            There Court therefore finds that the government has proven by a preponderance of
     the evidence that Phillips was advised of his rights, that Phillips understood his rights,
     and that Phillips freely waived them as required by applicable precedents. Specifically,
     Phillips (1) knowingly and voluntarily waived his Miranda rights while in the back of the
     SUV with Agent Rose, (2) freely consented to the search of his apartment, and (3) freely
     consented to the search of his cell phones. The written waiver and consent forms signed
     at the office were signed before the phones were searched or Phillips was interviewed
     and, although valid, were nonetheless superfluous in this instance (given the prior oral
     waivers and consents). Phillips’ statements during the interview at the SAC office were
     likewise freely provided after Phillips was advised and understood his Miranda rights.
     The Court also finds that Agent Rose acted in good faith when he later added in the times
     on the waiver form. The evidence indicated that this was an unintentional oversight on
     Rose’s part.
            Accordingly, the Court concludes that none of the defendant’s constitutional
     rights were violated. Therefore, none of his statements or evidence found in his home or
     cell phones should be suppressed.
                                          OBJECTIONS
            In order to facilitate prompt disposition of this matter, the Court is expediting
     the time to file objections and responses to the objections, if any, to this report. See
     Rule 4(b), Magistrate Judge Rules of the Local Rules of the Southern District of Florida
     (parties must object to a Magistrate Judge’s report within 14 days “or within such other
     time as may be allowed by the Magistrate Judge or District Judge”); United States v.
     Barney, 568 F.2d 134, 136 (9th Cir. 1978) (permitting district court to shorten period for
     objections provided by 28 U.S.C. § 636). 4
            Therefore, pursuant to 28 U.S.C. § 636(b)(1) and Local Magistrate Rule 4(b), the
     parties have until Tuesday, May 10, 2011, to serve and file written objections, if any,
     with the presiding United States District Judge. Each party may file a response to the

            4
                    The Court advised the parties at the start of the hearing of the need to file
     objections within 5 days.


                                                  7
Case 0:11-cr-60040-DLG Document 39 Entered on FLSD Docket 05/05/2011 Page 8 of 8




     other party’s objections by Friday, May 13, 2011. Failure to timely file objections shall
     bar the parties from a de novo determination by the District Judge of an issue covered in
     this report and bar the parties from attacking on appeal the factual findings contained
     herein. Resolution Trust Corp. v. Hallmark Builders, Inc., 996 F.2d 1144, 1149 (11th
     Cir. 1993) (citing LoConte v. Dugger, 847 F.2d 745, 749-50 (11th Cir. 1988)).
            DONE AND ORDERED in Chambers, at Miami, Florida, on May 5, 2011.




     Copies furnished to:
     Hon. Donald L. Graham
     Counsel of Record




                                                8
